             In the
        Court of Appeals
Second Appellate District of Texas
         at Fort Worth
     ___________________________
          No. 02-24-00327-CV
     ___________________________

  IN THE INTEREST OF I.R., A CHILD




  On Appeal from the 360th District Court
          Tarrant County, Texas
      Trial Court No. 360-551720-14


  Before Bassel, Womack, and Wallach, JJ.
    Per Curiam Memorandum Opinion
                           MEMORANDUM OPINION

      Appellant J.R. attempts to appeal from the “Order in Suit for Modification of

Support Order and to Confirm Support Arrearage” signed by the associate judge on

July 2, 2024.1 We notified Appellant on July 22, 2024, of our jurisdiction concern

because the order did not appear to be a final judgment or an appealable interlocutory

order. We stated that unless Appellant or any party desiring to continue the appeal

filed with the court, on or before Thursday, August 1, 2024, a response showing

grounds for continuing the appeal, this appeal could be dismissed for want of

jurisdiction. See Tex. R. App. P. 42.3(a), 44.3. We received no response.

      This court has appellate jurisdiction over appeals from final judgments and

from interlocutory orders that the Texas Legislature has specified are immediately

appealable. Lehmann v. Har-Con Corp., 39 S.W.3d 191, 195 (Tex. 2001). The associate

judge’s order is not a final judgment or an interlocutory order that is appealable to this

court. See generally Tex. Fam. Code Ann. §§ 201.015, 201.1042. Accordingly, we

dismiss this appeal for want of jurisdiction. See Tex. R. App. P. 42.3(a), 43.2(f), 44.3;

In re E.D., No. 02-18-00144-CV, 2018 WL 2440389, at *1 (Tex. App.—Fort Worth



      1
        From the notice of appeal, it appeared that Appellant was requesting a
de novo appeal before the referring court because it was filed within three days of the
date that the associate judge signed the proposed order. See Tex. Fam. Code Ann.
§§ 201.015, 201.1042. A deputy clerk from our court confirmed with the district
court’s coordinator that the de novo appeal would be heard by Judge Bennett. The
coordinator stated that she was not sure why this court had been sent a copy of this
de novo appeal.

                                            2
May 31, 2018, no pet.) (mem. op.) (dismissing appeal for want of jurisdiction after the

notice of appeal was forwarded to the referring court for a de novo hearing).

                                                     Per Curiam

Delivered: August 22, 2024




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